     Case 1:22-cv-00065-BU Document 1-3 Filed 05/17/22                Page 1 of 2 PageID 45



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  ABILINE DIVISION

FAIR OAKS APARTMENTS, LLC                           §
      Plaintiff,                                    §
                                                    §
v.                                                  §     CIVIL ACTION NO. 1:22-cv-00065
                                                    §
NATIONWIDE MUTUAL                                   §
INSURANCE COMPANY                                   §
     Defendant.                                     §

                                        INDEX OF FILINGS

        Defendant Nationwide Mutual Insurance Company gives notice that the following items

are being filed with its Notice of Removal in the above-referenced action:

        1.     Notice of Removal with the following exhibits attached:

               A.      Plaintiff’s Original Petition with citation and attachments;

               B.      Defendant Nationwide Mutual Insurance Company’s Original Answer;

        2.     Index of Filings;

        3.     Civil Cover Sheet;

        4.     Supplement Civil Cover Sheet; and

        5.     Certificate of Interested Parties.

                                   (Signatures on following page.)
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                                             Respectfully submitted,

                                             /s/ Patrick M. Kemp
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                                             ATTORNEYS FOR DEFENDANT
                                             NATIONWIDE MUTUAL INSURANCE
                                             COMPANY




                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing instrument has been served
electronically via CM/ECF and Certified Mail this the 17th day of May, 2022 to:

       Shaun W. Hodge                                            # 9414 7266 9904 2137 9628 29
       Jahan V. Guram
       The Hodge Law Firm, PLLC
       1301 Market Street
       Galveston, Texas 77550
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                                             /s/ Patrick M. Kemp
                                             Patrick M. Kemp




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